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 8   Facsimile: (415) 394-5544
 9   Attorneys for Creditor,
     BANK OF GUAM
10
                                  IN THE DISTRICT COURT OF GUAM
11                                      TERRITORY OF GUAM
                                       BANKRUPTCY DIVISION
12
     In re                                             Bankr. Case No. 19-00010
13
     ARCHBISHOP OF AGAÑA, A Corporation                Chapter 11
14   Sole,
                                                       REPLY TO U.S. SMALL BUSINESS
15                         Debtor.                     ASSOCIATION OBJECTION TO
                                                       MOTION TO PROCESS PPP
16                                                     FINANCING; MOTION FOR
                                                       EXTENSION TO FILE BRIEF
17
                                                       Hearing Date: May 11, 2019
18
                                                       Time: 8:30 AM
19
                                                       Judge: Hon. Frances Tydingco-Gatewood
20
                                                       Hon. Frances Tydingco-Gatewood
21

22

23           Creditor Bank of Guam (the “Bank”) hereby responds to the U.S. Small Business

24   Association’s (“SBA”) Objection to Motion to Process PPP Financing; Motion for Extension to File

25   Brief [Dkt. 422] filed on May 7, 2020 (the “Objection).

26           Bank respectfully requests that this Court grant its Motion to Process PPP Financing filed on

27   May 1, 2020 [Dkt. 409] (the “Motion”) as follows:

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 1           Bank and SBA, through their respective counsel, have met and conferred in attempts of

 2   resolving the issues raised in the SBA’s Objection.

 3           The SBA raised issued relating to whether the PPP loan applicants are “part of the Estate”

 4   and the eligibility of the applicants.

 5           The Bank has considered the SBA’s concerns and objections and the Bank proposes that the

 6   following would resolve those issues.

 7           Bank believes that is fair and reasonable for the Court to authorize Bank to receive and

 8   process PPP loan applications from the entities listed on the attached Exhibit “A,” as may be

 9   supplemented from time to time, and to fund such loans as are approved by SBA; provided that an

10   order shall not be deemed to compel SBA to approve such loans.

11           The Bank further believes it is fair and reasonable that it be authorized to extend unsecured

12   credit, under Bankruptcy Code Section 364(b), to fund such PPP loan applications as are granted by

13   the SBA to the entities listed on the attached Exhibit “A”, as may be supplemented from time to

14   time.

15           The Bank is agreeable that nothing in an order shall be construed as requiring or otherwise

16   compelling SBA to approve such loans.

17           Based on the foregoing, the records and files submitted herein, Bank respectfully requests

18   that the Bank’s Motion be granted in the in the form of the Proposed Order Granting Motion to

19   Process PPP Financing, attached hereto.

20   RESPECTFULLY SUBMITTED

21   DATED: May 7, 2020                           MACDONALD | FERNANDEZ LLP

22

23                                                By:      /s/ Iain A. Macdonald
                                                           Iain A. Macdonald
24                                                         Attorneys for Secured Creditor,
                                                           BANK OF GUAM
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         EXHIBIT A
Case 19-00010 Document 424 Filed 05/08/20 Page 3 of 10
Entity                                                  Program               Amount                Status
                                                        Paycheck Protection
   Santa Barbara Catholic School                                                   $338,355.15               APPROVED
                                                             Program
                                                        Paycheck Protection
   San Isidro Catholic Church                                                           $6,229.97            APPROVED
                                                             Program
                                                        Paycheck Protection
   San Vicente/San Roke Catholic Church                                                $26,050.00            APPROVED
                                                             Program
                                                        Paycheck Protection
   Saint Francis School                                                            $123,657.57               APPROVED
                                                             Program
                                                        Paycheck Protection
   St. Francis Catholic Church                                                         $10,381.05            APPROVED
                                                             Program
                                                        Paycheck Protection
   Santa Teresita Catholic Church                                                      $22,137.80            APPROVED
                                                             Program
                                                        Paycheck Protection
   Academy of Our Lady of Guam                                                     $287,027.50               APPROVED
                                                             Program
                                                        Paycheck Protection
   Santa Barbara Catholic church                                                       $55,122.05            APPROVED
                                                             Program
                                                        Paycheck Protection
   Bishop Baumgartner Memorial School                                              $312,780.20               APPROVED
                                                             Program
                                                        Paycheck Protection
   San Vicente Catholic School                                                     $156,375.00               APPROVED
                                                             Program
                                                        Paycheck Protection
   St. Joseph Catholic Church                                                           $7,392.50            APPROVED
                                                             Program
                                                        Paycheck Protection
   Father Duenas Memorial School                                                   $376,620.00               APPROVED
                                                             Program
                                                        Paycheck Protection
   Our Lady of Lourdes Catholic Church                                                 $33,639.00       Not Processed
                                                             Program
                                                        Paycheck Protection
   San Dimas & Our Lady of the Rosary Catholic Church                                  $13,613.00       Not Processed
                                                             Program
                                                        Paycheck Protection
   Our Lady of the Blessed Sacrament Church                                            $11,875.00       Not Processed
                                                             Program
                                                        Paycheck Protection
   Catholic Cemeteries of Guam, Inc.                                                   $39,555.72       Not Processed
                                                             Program




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PROPOSED ORDER




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 6
                                    IN THE DISTRICT COURT OF GUAM
 7                                        TERRITORY OF GUAM
                                         BANKRUPTCY DIVISION
 8
     In re                                                Bankr. Case No. 19-00010
 9
     ARCHBISHOP OF AGAÑA, A Corporation                   Chapter 11
10   Sole,
11                           Debtor.                      Hon. Frances Tydingco-Gatewood
12
                      ORDER GRANTING MOTION TO PROCESS PPP FINANCING
13
               This matter came before the Court upon Creditor Bank of Guam’s (the “Bank”) Motion to
14
     Process PPP Financing filed on May 1, 2020 [Dkt. 409] (the “Motion”) and heard on May 11, 2020.
15
     Pursuant to the Motion the Bank seeks approval of its PPP loan agreements with various entities,
16
     namely, Catholic Churches and Schools, and one Cemetery, as identified on Exhibit “A” attached
17
     hereto.
18
               On May 7, 2020, U.S. Small Business Association (“SBA”) filed an Objection to Motion to
19
     Process PPP Financing; Motion for Extension to File Brief [Dkt. 422]. No other objections have
20
     been timely filed.
21
               Bank and SBA have met and conferred but have not yet reached an agreement as to the relief
22
     to resolve SBA’s concerns and its need for an extension of time to file a brief. However, Bank
23
     believes the following terms of agreement set forth in this Order will resolve the concerns.
24
               BASED UPON THE RECORD BEFORE THE COURT, THE COURT FINDS AND
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     CONCLUDES AS FOLLOWS:
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             1.       The Debtor filed its voluntary petition for relief under Chapter 11 of the United States
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     Bankruptcy Code on January 16, 2019 (the "Petition Date").
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 1         2.       The Court has jurisdiction over the Motion pursuant to 28 U.S.C. § § 157 and 1334.

 2   This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(D). The statutory

 3   bases for the relief requested in the Motion are Bankruptcy Code § § 105, 361 and 364. Fed. R.

 4   Bankr. P. 4001(c) governs the Motion.

 5         3.       Since the Petition Date, the Debtor has been operating as a debtor-in-possession

 6   pursuant to Bankruptcy Code § § 107 and 1108.

 7         4.       The Bank filed its Motion to Process PPP Financing on May 1, 2020 [Dkt. 409].

 8         5.       The SBA filed an Objection to Motion to Process PPP Financing; Motion for

 9   Extension to File Brief [Dkt. 422] on May 7, 2020 raising concerns relating to PPP loan applicants

10   are “part of the Estate” and the eligibility of applicants. No other objections have been timely filed.

11           BASED ON THESE FINDINGS AND CONCLUSIONS, IT IS HEREBY ORDERED:

12           1.     Motion is Granted, subject to the following limitation;
13
             2.     Bank of Guam is authorized to receive and process PPP loan applications from the
14
     entities listed on the attached Exhibit “A,” as may be supplemented from time to time;
15
             3.     Bank of Guam is further authorized to extend unsecured credit, under Bankruptcy
16

17   Code Section 364(b), to fund such PPP loan applications as are granted by the SBA to the entities

18   listed on the attached Exhibit “A”, as may be supplemented from time to time;

19           4.     Nothing in this order shall be construed as requiring or otherwise compelling SBA to
20
     approve such loans.
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     IT IS SO ORDERED
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                Case 19-00010 Document 424 Filed 05/08/20 Page 7 of 10
         EXHIBIT A
Case 19-00010 Document 424 Filed 05/08/20 Page 8 of 10
Entity                                                  Program               Amount                Status
                                                        Paycheck Protection
   Santa Barbara Catholic School                                                   $338,355.15               APPROVED
                                                             Program
                                                        Paycheck Protection
   San Isidro Catholic Church                                                           $6,229.97            APPROVED
                                                             Program
                                                        Paycheck Protection
   San Vicente/San Roke Catholic Church                                                $26,050.00            APPROVED
                                                             Program
                                                        Paycheck Protection
   Saint Francis School                                                            $123,657.57               APPROVED
                                                             Program
                                                        Paycheck Protection
   St. Francis Catholic Church                                                         $10,381.05            APPROVED
                                                             Program
                                                        Paycheck Protection
   Santa Teresita Catholic Church                                                      $22,137.80            APPROVED
                                                             Program
                                                        Paycheck Protection
   Academy of Our Lady of Guam                                                     $287,027.50               APPROVED
                                                             Program
                                                        Paycheck Protection
   Santa Barbara Catholic church                                                       $55,122.05            APPROVED
                                                             Program
                                                        Paycheck Protection
   Bishop Baumgartner Memorial School                                              $312,780.20               APPROVED
                                                             Program
                                                        Paycheck Protection
   San Vicente Catholic School                                                     $156,375.00               APPROVED
                                                             Program
                                                        Paycheck Protection
   St. Joseph Catholic Church                                                           $7,392.50            APPROVED
                                                             Program
                                                        Paycheck Protection
   Father Duenas Memorial School                                                   $376,620.00               APPROVED
                                                             Program
                                                        Paycheck Protection
   Our Lady of Lourdes Catholic Church                                                 $33,639.00       Not Processed
                                                             Program
                                                        Paycheck Protection
   San Dimas & Our Lady of the Rosary Catholic Church                                  $13,613.00       Not Processed
                                                             Program
                                                        Paycheck Protection
   Our Lady of the Blessed Sacrament Church                                            $11,875.00       Not Processed
                                                             Program
                                                        Paycheck Protection
   Catholic Cemeteries of Guam, Inc.                                                   $39,555.72       Not Processed
                                                             Program




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 1                                     CERTIFICATE OF SERVICE

 2

 3          I hereby certify that, on May 7, 2020, in accordance with Fed. R. Civ. P. 5(b)(3), a true copy

 4   of the foregoing was served via the Court's CM/ECF notification facilities to those parties who are

 5   registered CM/ECF participants in this case, and the U.S. Trustee.

 6                                                       /s/ Iain A. Macdonald
                                                         Iain A. Macdonald
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